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 PAUL S. AOKI, 1286
 Corporation Counsel Designate

 AUDREY L. E. STANLEY, 9214
 TRACY S. FUKUI, 7111
 DONOVAN A. ODO, 8816
 Deputies Corporation Counsel
 City and County of Honolulu
 530 S. King Street, Room 110
 Honolulu, Hawai‘i 96813
 Telephone: (808) 768-5233 / (808) 768-5236 / (808) 768-5134
 Facsimile: (808) 768-5105
 Email address: audrey.stanley@honolulu.gov / tracy.fukui@honolulu.gov /
 donovan.odo@honolulu.gov

 Attorneys for Defendants
 CITY AND COUNTY OF HONOLULU
 and THAYNE COSTA

                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI‘I

 SARAH VARGAS,                         CIVIL NO. CV19-00116 LEK/WRP
            Plaintiff,                 DEFENDANTS CITY AND COUNTY
                                       OF HONOLULU AND THAYNE
      vs.
                                       COSTA’S REPLY TO PLAINTIFF’S
 CITY AND COUNTY OF                    RESPONSE TO DEFENDANTS CITY
 HONOLULU, DAVID OH, and               AND COUNTY OF HONOLULU AND
 THAYNE COSTA,                         THAYNE COSTA’S MOTION TO
                                       BIFURCATE TRIAL; CERTIFICATE OF
            Defendants.                SERVICE

                                       Trial Date: February 16, 2021
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           DEFENDANTS CITY AND COUNTY OF HONOLULU AND
          THAYNE COSTA’S REPLY TO PLAINTIFF’S RESPONSE TO
             DEFENDANT CITY AND COUNTY OF HONOLULU’S
           AND THAYNE COSTA’S MOTION TO BIFURCATE TRIAL

        Defendants City and County of Honolulu and Thayne Costa hereby submit

 their reply to Plaintiff’s Response Defendants City and County of Honolulu and

 Thayne Costa’s Motion to Bifurcate Trial (“Response”), Filed September 8, 2020.

 I.     ARGUMENT

        Plaintiff does not oppose bifurcation. See Response, Doc. No. 196, at 2.

 Claims against Thayne Costa should go first for efficiency and judicial economy

 reasons. See Defendants City and County of Honolulu and Thayne Costa’s Motion

 to Bifurcate Trial, Doc. No. 188, at 6 (explaining that if Plaintiff does not prevail

 on the underlying tort(s) or constitutional violation, then the need for a trial on the

 Monell/negligent training claims is moot). The claims against Thayne Costa that

 should be tried in the first trial consist of the following:1

      • Count V, negligence against Thayne Costa, vicarious liability for the City

      • Count VII negligent infliction of emotional distress against Thayne Costa,

         vicarious liability for the City




 1
  To find liability, a jury must find that there was a sexual assault. In other words,
 Thayne Costa’s liability is predicated on Oh’s liability under Count IV for sexual
 assault. See Ferrari Fin. Servs. v. Yokoyama, No. 18-00136 JAO-RLP, 2018 U.S.
 Dist. LEXIS 165507, at *5-6 (D. Haw. Sep. 6, 2018).

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          Then, direct liability claims against the City should be tried in the second

 trial if the jury found a sexual assault/constitutional violation occurred. These

 consist of the following:

       • Count I, Monell 14th amendment violation claim premised on facially

          deficient training

       • Count II, Monell 4th amendment violation claim premised on facially

          deficient training

       • Count VI, negligent training/supervision for Thayne Costa’s conduct

 II.      CONCLUSION

          Based on the foregoing, the City and Thayne Costa respectfully request that

 the motion be granted.

          DATED: Honolulu, Hawai‘i, September 15, 2020.

                                      PAUL S. AOKI
                                      Corporation Counsel Designate


                                      By: /s/ Audrey L. E. Stanley
                                          AUDREY L. E. STANLEY
                                          TRACY S. FUKUI
                                          DONOVAN A. ODO
                                          Deputies Corporation Counsel
                                           Attorneys for Defendants
                                           CITY AND COUNTY OF HONOLULU
                                           and THAYNE COSTA




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